

Matter of State of N.Y. ex. rel., Alma Magana, Esq. v Pickholz (2020 NY Slip Op 06366)





Matter of State of N.Y. ex. rel., Alma Magana, Esq. v Pickholz


2020 NY Slip Op 06366


Decided on November 05, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 05, 2020

Before: Gische, J.P., Webber, González, Scarpulla, JJ. 


Index No. 451373/20, Ind. 01149/19 Appeal No. 12275 Case No. 2020-02927 

[*1]In the Matter of The State of New York ex. rel., Alma Magana, Esq., on Behalf of Mel Sweeney, Petitioner,
vHon. Ruth Pickholz, etc., et al., Respondents.


Alma Magana, petitioner pro se.
Cyrus R. Vance, Jr., District Attorney, New York (Arielle Reid of counsel), for District Attorney, respondent.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied and the petition dismissed, without costs or disbursements.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 5, 2020








